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lN THE UNITED STATES DlSTRlCT COURT
NORTHERN DlSTRlCT OF |LLlNOlS EASTERN D|VISION

 

lN RE: Steven Winkles ) Case No.
)
)
Plaintiff ) COl\/lPLAlNT
)
) ,
v., ) July Demand Requested
) ,
l\/ledicredit )
One Park Plaza )
Nashville, TN 37203 )
)
Defendant )
Now comes Plaintiff, by and through his attorneys, and, for her Complaint alleges as
follows:
|NTRODUCTlON

1. Plaintiff, Steven Winkles, brings this action to secure redress from
unlawful collection practices engaged in by Defendant, l\/ledicredit, lnc..
Plaintiff allege violation of the Fair Debt Collection Practices Act, 15
U.S.C. Section 1692 et seq. (“FDCPA”).

2. The FDCPA makes clear that Within five days of any initial
communication, a debt collector clearly state Who the current creditor
of the Debtor is. 15 U.S.C. Section 1692g

APPL|CABLE CASE LAW

3. ln Janetos vs. Fu/ton Friedman & Gullace, LLP (No. 15-01859), (7th
Cir., 2016), the Seventh Circuit Court of Appeals stated if a dunning
letter fails to disclose the required language in 15 U.S.C. Section
1692g(a), it violates the FDCPA. t

4. Said case stated “[T]o satisfy Section 16929(a), the debt collector’s
notice must state the required information ‘clearly enough that the
receipient is likely to understand it.”’ /d.

5. lf an initial dunning letter fails to disclose the required information

 

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clearly, it violates the FDCPA, Without further proof of confusion. ld.

JURlSDlCTlON AND VENUE

6. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
1367; and 15 U.S.C. section 1692(d).

7. Venue is proper because a substantial part of the events giving rise to
this claim occurred in this District.

PART|ES

8. Plaintiff, Steven Winkles (hereinafter “Plaintiff”) incurred an obligation
to pay money, the primary purpose of Which Was for personal, family,
or household uses (the “Debt”).

9. Plaintiff is a resident of the State of illinois

10. Defendant, l\/ledicredit, lnc. (“Defendant”), is a Tennessee business
entity With an address of One Park Plaza, Nashville, TN 37203
operating as a collection agency, and is a “debt collector” as the term
is defined by 15 U.S.C. Section 1692a(6)..

11.Unless otherwise stated herein, the term “Defendant” shall refer to
l\/ledicredit, lncorporated..

12.At some point, the original creditor, transferred this debt to Defendant
for debt collection.

ALLEGAT|ONS

13.The Plaintiff allegedly incurred a financial obligation in the approximate
amount of $84.99 (the “Debt”) to an original creditor (the “Creditor”)

14.The Debt Was purchased, assigned or transferred to Defendant for
collection, or Defendantwas employed by the Creditor to collect to
Debt.

15.The Defendant attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. Section 1692a(2).

16.0n November 14, 2017, Defendant sent an initial communication to
Plaintiff. See ExhibitA.

17.The letter states in the opening “[T]his is to inform you that Northwest

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Community has placed your account with this agency with the full
intention of collection this account. Please give this past due account
the attention it deserves.” See Exhibit A.

18.An unsophisticated consumer, would have no idea who Northwest
Community actually is.

19. ln fact, Plaintiff has no idea who the “Northwest Community” is that is
involved in the debt collection.

20. ln the state of lllinois, there are approximately twenty-one (21)
businesses in the healthcare industry that have the name “Northwest
Community” in their name. See Exhibit B,

21 . However, there are absolutely no businesses that go by “Northwest
Community.” See Exhibit B

22.There is a Northwest Community l-lospital, a Northwest Community
Credit Union, a Northwest Community l\/lusic Academy, a Northwest
Community Pharmacy and many many more with “Northwest
Community” in the title. See Exhibit B

23. Furthermore, it is not even clear that “Northwest Community” is the
creditor in this matter. See Exhibit A.

24.The word “creditor” is not in this letter. See Exhibit A.

25.There is nothing clearly indicating that Northwest is the creditor to
whom this debt is owed. See Exhibit A.

26.The letter is confusing and unclear who owns Plaintiff’s debt and who

“Northwest Community” actually is.

STANDlNG AND lNJURY'

27. Plaintiff has suffered an injury in fact that is traceable to Defendant's
conduct and that is likely to be redressed by a favorable decision in
this matter.

28.Specifically, Plaintiff suffered a concrete informational injury as a result
of Defendant's failure to provide truthful information in connection with

its attempt to collect an alleged debt from Plaintiff.

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29.The re`ght anod obligations established by sesti ion 159 lig were
considered byth eSenate at the time of passage to be a ‘“significant
feature” ofthe Act. “i'his provision jsection 1592g] wiil eliminate the
recurring problem of collectors dunning the wrong person or attempting
to coilect debts which the consumer has already paid.” S. Rep. l\lo. 382,
95th Cong,, 1st Sess. 4, at 4, reprinted in 1977 U.S.C.C.A.l\l. 1595, 1595,

30.The Plaintiff has suffered and continues to suffer actual damages as a
result of the Defendant’s unlawful conduct.

31 .As a direct consequence of the Defendant’s acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation,

anger, anxiety, and frustration.

VIOLATIONS OF THE FDCPA-15 U.S.C. SECT|ON 1692, et Seq.

32.`l'he Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.
33.The Defendant’s conduct violated 15 U.S.C. Section 1592g(a) by not

stating clearly who the creditor was on this matter.

JURY DE|V|AND

34. Plaintiff demands a trial byjury.
l PRAYER FOR REL|EF

35. Plaintiff demands the following relief:
VVHEREFORE, the Court should enter Judgment in favor of Plaintiff and
against Defendant for: '

(1) Statutory damages;

(2) Attorney fees, litigation expenses and costs of suit; and

(3) Such other and further relief as the Court deems proper.

Respectfully submitted,

/s/ John Carlin

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